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                                                                                                 U.S. DISTRICT COURT
                                                                                                     N.D. OF ALABAMA


                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 MIDDLE DIVISION


 UNITED STATES OF AMERICA,                         }
                                                   }
 v.                                                }    Case No.: 4:16-CR-264-RDP-TMP
                                                   }
 MARY ELIZABETH TREVINO,                           }
                                                   }
         Defendant.                                }


                          MEMORANDUM OPINION AND ORDER

       This matter is before the court on Defendant Mary Elizabeth Trevino’s “Motion for a

Reduction in Sentence in lieu of the First Step Act of 12-21-2018 Pursuant to the Mandatory

Minimum Guidelines for Drug-Related Offenses.” (Doc. # 31).

       On October 27, 2016, Trevino pled guilty to Possession with Intent to Distribute

Methamphetamine in violation of 21 U.S.C. § 841(a)(1), with penalties at 21 U.S.C. §

841(b)(1)(A). (Docs. # 15, 28). On April 13, 2017, Trevino was sentenced to be imprisoned for a

term of one hundred forty-four (144) months. (Doc. # 28 at 2).

       “District courts may modify a prison sentence after it is imposed only as authorized by

statute or rule.” United States v. Denson, 963 F.3d 1080, 1086 (11th Cir. 2020); see also 18 U.S.C.

§ 3582(b). “[T]he First Step Act of 2018 [] permits district courts to apply retroactively the reduced

statutory penalties for crack-cocaine offenses in the Fair Sentencing Act of 2010 to movants

sentenced before those penalties became effective. United States v. Jones, 962 F.3d 1290, 1293

(11th Cir. 2020) (emphasis added). The relevant statutory amendments of the FSA of 2018 that it

made retroactive applied only to cocaine. United States v. Brown, 791 F. App’x 785, 787 (11th

Cir. 2019); FSA of 2018 § 404; FSA of 2010 §§ 2-3; see also United States v. Chavez-Cadenas,
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2019 WL 4013959, at *2 (D. Kan. Aug. 26, 2019) (Vratil, J.), reconsideration denied, 2019 WL

6037498 (D. Kan. Nov. 14, 2019) (“The only retroactive portion of the First Step Act is Section

404, which permits district courts to reduce a sentence retroactively based on the revised statutory

penalties of the Fair Sentencing Act of 2010, Pub. Law No. 111-220, 124 Stat. 2372. See First Step

Act § 404(a). Section 404, however, applies to defendants who were sentenced for an offense

involving crack cocaine that was committed before August 3, 2010.”).

       Because Trevino was sentenced before the enactment of the FSA of 2018 for Possession

with Intent to Distribute Methamphetamine (Doc. # 28), that Act provides her no relief.

       Trevino’s Motion for a Reduction in Sentence (Doc. # 31) is DENIED.

       DONE and ORDERED this September 15, 2020.



                                              _________________________________
                                              R. DAVID PROCTOR
                                              UNITED STATES DISTRICT JUDGE




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